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     Federal Defender
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5
     Attorney for Defendant
6    RODOLFO F. SUAREZ, JR.
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )             No. 1:08-CR-00124-004 OWW
                                           )
12                   Plaintiff,            )             STIPULATION AND [PROPOSED] ORDER
                                           )             FOR MODIFICATION OF CONDITIONS OF
13       v.                                )             RELEASE
                                           )
14   RODOLFO F. SUAREZ, JR.,               )
                                           )
15                   Defendant.            )             JUDGE:        Hon. Dennis L. Beck
     _____________________________________ )
16
17        Whereas Pretrial Services recommends that the conditions of pretrial release relating to Defendant
18   Rodolfo F. Suarez, Jr., be modified as set forth below,
19        IT IS HEREBY STIPULATED by and between the parties to this action through their respective
20   counsel of record herein, Assistant United States Attorney Karen A. Escobar, counsel for Plaintiff, and
21   Assistant Federal Defender Melody M. Walcott, counsel for Defendant, with the agreement of the Pretrial
22   Services Officer, that the conditions of pretrial release made at the Detention Hearing held April 21, 2008
23   (Dkt. #9, entered April 21, 2008) and the Order Setting Conditions of Release signed by the court on
24   May 20, 2008 (Dkt. #28, entered May 20, 2008) relating to Defendant Rodolfo F. Suarez, Jr., in the
25   above-referenced matter may be modified, as follows:
26        1. The defendant shall participate in a program of medical or psychiatric treatment including
27   treatment for drug and/or alcohol dependency, and pay for costs as approved by the Pretrial Services
28   Officer.
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1          All other previously-ordered conditions of release, not in conflict, remain in full force and effect
2    pending further order of the court.
3                                                                 BENJAMIN B. WAGNER
                                                                  United States Attorney
4
5    DATED: December 1, 2009                                  By: /s/ Karen A. Escobar
                                                                 KAREN A. ESCOBAR
6                                                                Assistant United States Attorney
                                                                 Attorney for Plaintiff
7
8                                                                 DANIEL J. BRODERICK
                                                                  Federal Public Defender
9
10   Dated: December 1, 2009                                      /s/ Melody M. Walcott
                                                                  MELODY M. WALCOTT
11                                                                Assistant Federal Defender
                                                                  Attorney for Defendant
12                                                                Rodolfo F. Suarez, Jr.
13
14
15                                                     ORDER
16         IT IS SO ORDERED. The conditions of pretrial release made at the Detention Hearing held
17   April 21, 2008 (Dkt. #9, entered April 21, 2008) and the Order Setting Conditions of Release signed by the
18   court on May 20, 2008 (Dkt. #28, entered May 20, 2008) relating to Defendant Rodolfo F. Suarez, Jr., in
19   the above-referenced matter are hereby modified to include the provisions herein above set forth. All other
20   prior terms and conditions of release, not in conflict, shall remain in full force and effect pending further
21   order of the court.
22
23             IT IS SO ORDERED.
24             Dated:       December 3, 2009                          /s/ Dennis L. Beck
     3b142a                                                   UNITED STATES MAGISTRATE JUDGE
25
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27
28

     Stipulation and [Proposed] Order for
     Modification of Conditions of Release                  2
